    Case 1:13-cv-01896-RWS Document 123 Filed 08/30/16 Page 1 of 19




UNITED STATES DI STR I CT COURT
SOUTHERN DISTR I CT OF NEW YORK

---------------------------------------x
SEAN THOMPSON , M.D. ,

                           Plaintiff,                   13 Civ . 1896

     -against-                                            OPINION

THE JAMAICA HOSPITAL MEDICAL CENTER ,
NYU HOSPITALS CENTER, NEW YORK UNIVERSITY
MEDICAL CENTER , NYU LANGONE MEDICAL
CENTER , NYU HOSPITAL FOR JO I NT DISEASES ,

                           Defendants .         USDCSDNY
                                                DOCU/'.-1ENf

A P P E A R A N C E S:


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    Case 1:13-cv-01896-RWS Document 123 Filed 08/30/16 Page 2 of 19




Sweet, D. J.



           Defendants Jamaica Hospital Medical Center ("JHMC")

and NYU Hospitals Center , New York University Medical Center,

NYU Langone Medical Center, and NYU Hospital for Joint Diseases

(collectively "the NYU Defendants" and together with JHMC " the

Defendants") have each moved pursuant to Rule 56 , F. R. Civ . P.

for summary judgment against Plaintiff Sean Thompson, M. D.

("Plaintiff" or "Dr. Thompson").       As set forth below , the

motions are granted in part , and denied in part.



Prior Proceedings



           Dr . Thompson filed the complaint against the

Defendants on March 21, 2013 based on diversity jurisdiction,

alleging violations of New York Labor Law §§ 740 - 741, which

allows for whistleblower claims against an employer regarding

dangers to public health and safety.



           By order of June 19, 2015 , in view of Plaintiff's

failure to comply with his discovery obligations as set forth in

a previous October 22 , 2014 Order Plaintiff was limited to

damages based on documents that had already been produced


                                   1
     Case 1:13-cv-01896-RWS Document 123 Filed 08/30/16 Page 3 of 19




pursuant to the Court ' s October 22, 2014 Order and Plaintiff was

required to produce a computation of his damages within two

weeks .    By opinion of November 20 , 2015 , the Plaintiff failed to

present additional evidence of damages in compliance with the

October 22 , 2014 Order and the June 19, 20 1 5 Opinion and was not

be permitted to submit any informat i on not already in evidence

about his damages.



             The instant motions for summary judgment were filed on

February 8, 2016 .           They were argued and marked fully submitted

on April 14 , 2016 .



The Facts



              Defendant JHMC offered Plaintiff the position of

Director of the Total Join Replacement Program ("TJRP " ) on May

14, 2010 .     (Reilly Deel. , Exhibit B.)        Plaintiff ' s annual salary

was approximately $250 , 000 .         (Reilly Deel . , Exhibit C . )

Plaintiff accepted this offer and began working as the Director

of the TJRP on or about September 1 , 2010 .            (Plaintiff's

Deposition Transcript , Reilly Deel ., Ex. B ("Pl . Tr.") at 60.)

Among other staff whom Plaintiff oversaw , there were five

medical residents who rotated through the service.                (Pl.   Tr . at

56 : 13-26 , 57 : 2-24 . )

                                          2
    Case 1:13-cv-01896-RWS Document 123 Filed 08/30/16 Page 4 of 19




           Prior to being offered the position and accepting the

position, JHMC and NYU were not sure whether to hire Plaintiff

as the Director of the TJRP.       Pauline Marks , a hospital

administrator for JHMC , stated in an email on May 25 , 2010 that

based on conversations with Dr . Nad ir Paksima and Dr . Bruce

Flanz , Dr. Flanz believed that Plaintiff " would probably be too

much trouble. "   (Guttell Deel ., Ex. B, Bates No. JHMC 0211.)

Plaintiff alleges that during the his emp l oyment negotiations

that Dr . Paksima told him he was " mak i ng waves" by asking f o r

specific contract terms about the "financial, ancil l ary staff ,

marketing" efforts that JHMC would make to ensure the program's

success.   (Pl . Tr. at 47:10 - 48 : 8)



           Plaintiff was eligible for a bonus of 80 % of a ll

revenue for the TJRP procedures in excess of the cost of his

salary and benefits .     (Pl . Tr. at 129:20-130:25.)         Therefore in

order to be eligible for a bonus , revenues for the TJRP wo uld

need to have exceeded $250 , 000 .        Id .   However, it is undisputed

that Plaintiff and the TJRP did not earn sufficient revenue to

warrant a bonus for Plaint i ff in any year in which he was

working f o r the Defendants .    (Pl . Tr. at 129 -1 32 . )




                                      3
      Case 1:13-cv-01896-RWS Document 123 Filed 08/30/16 Page 5 of 19




            From September 1, 2010 to December 31, 2010, the TJRP

had 22 visits billing $53,000 and only collecting $7,000 of

those total bills.      (Dr. Angelo Canedo's Deposition Transcript,

Reilly Deel., Ex. A ("Canedo Tr.") at 118:18-119:6.)

Plaintiff's salary over that period of time was $81,000 and

payments of nearly $33,000 for malpractice insurance.         Id.   In

the 2011 calendar year, the TJRP had 67 visits billing $124,000

and collecting $20,700.      (Canedo Tr. at 119:21-24.)     Plaintiff's

salary over that period of time was approximately $249,380 and

$132,000 in malpractice insurance.       Id.



            Jeanne Mancision, Director of Finances at JHMC,

emailed Plaintiff profit and loss data for TJRP as early as July

2011.    (Guttell Deel., Ex. A; Pl. Tr. 129:22-25; 130:2-25;

132:2-21; Canedo Tr. 119:23-120:4; 167:2-10; Reilly Deel. Ex.

F.)




            Plaintiff advised Defendants about a number of patient

health and quality of care issues dealing with cleanliness and

sterility of the hospital.      These issues included trash and

flies in the operating room, mishandling of Operating Room

culture swabs with dirty and unsterile gloves, assisting in the

Operating Room with bloody gloves prior to the procedure, delays

resulting in prolonged anesthesia time and potential increases

                                    4
     Case 1:13-cv-01896-RWS Document 123 Filed 08/30/16 Page 6 of 19




in infection rates , lack of ste r i l e equipment for surgeries ,

patients laying in their own feces , and nursing issues .                             (Pl .

Ex . G, NYUMC00312 , 000437 - 439 , 000515-5 1 6 , 000523 - 526 , 0 0 0 55 1-

552 ; Ex . E, Canedo Tr . at 65 : 6- 9 , 145 : 18 - 150 : 7 ; Ex . H, Thomps o n

Tr . 1 at 9 : 23 -1 0 : 17 , 1 3 : 22 -1 7 : 12 , 19 : 3 - 2 1: 8 , 24 : 15 - 26 : 10 , 120 : 4-

121:14 , Ex . I Thompson Tr . 2 at 333 : 2 1- 334:4 , 337 : 2 - 338 : 11 . )

Plaintiff al l eges that in response to his concerns about the

nurses and other s t aff in the hospi t al that Dr . Canedo told him

that he was " a young snot - nose surgeon who can ' t come here and

demand changes."           (Pl . Tr . at 14 :1 4 - 22.)        Dr . Canedo denied

making this statement "because that ' s not my exper i ence [w i t h ]

him . "   (Canedo Tr . at 183:4 - 7 . )



              On February 2 , 2012 , Dr . Canedo sent a l ette r t o t h e

Chair of Orthoped i c Surgery , Dr . Nadir Paksima , conf i rming their

earlier conversation that the TJRP ' s "vo lume has been

insuffic i ent to c o ver the costs " and that the hospital would be

d i scontinuing the program .             (Rei l ly Deel ., Ex . F . )       On February

3 , 2 0 12 , Dr . Joseph Zuckerman , Chair of Or t hoped i cs at NYU , met

wi t h Plaintiff and told Plaint i f f that the TJRP was being

discontinued because of " the v o l ume of the cases " whic h was a

" financia l reason ," Plaintiff a ll eges t h at Dr . Zuckerman noted

t h e other reason was " the who l e i dea of me being difficult , you

know , to get along with. "             (Pl. Tr . at 346 : 2 - 11 . )

                                               5
    Case 1:13-cv-01896-RWS Document 123 Filed 08/30/16 Page 7 of 19




          On February 17, 2012,      Dr. Zuckerman confirmed by

letter what they had discussed on February 3 , 2012 that JHMC

"de cided to discontinue the joint replacement initiativeu

because of issues with funding.          (Re illy Deel., Ex. G.)   In his

deposition,   Dr. Zuckerman testified that JHMC told him that the

reason they ended the TJRP was because "the volume and growth of

the program did not fulfill the expectations.u           (Dr . Joseph

Zuckerman's Deposition Transcript, Reilly Deel., Ex. L

("Zuckerman Tr.u ) at 34 :5-10. )



          On March 6 , 2012 Plaintiff wrote to Dr. Zuckerman

confirming that he understood his position could no l onger "be

s upp orted because of financial reasons.u        (Reilly Deel., Ex. H.)

Defendants allowed Plaintiff to remain employed at the hospital

through June 2012 .   (Pl . Tr. at 7:23-24.)



          Since leaving JHMC and NYU, Plaintiff has been

employed with Forest Hills Hospital, Queens Long Island Medical

Group, Sall Myers , and Thompson Medical for a combined income of

more than $500,000 per year .       (Pl . Tr. at 244-255.)



          After the TJRP was terminated,         J HMC continued to hire

general orthopedic surgeons, who "might in theory do an elective

                                     6
    Case 1:13-cv-01896-RWS Document 123 Filed 08/30/16 Page 8 of 19




case" of a total joint replacement surgery.             (Canedo Tr. at

163:10-17.)     However, Dr . Thompson did not want to stay on in

general orthopedics because "Dr. Thompson was very clear that he

did a specialty fellowship [in total joint replacement]            for a

reason."     (Canedo Tr. at 163 : 20- 2 5 . )



The Summary Judgment Standard



             Summary judgment is appropriate only where "there is

no genuine issue as to any material fact and ... the moving

party is entitled to a judgment as a matter of law."             Fed. R .

Civ. P. 56(c) .     A dispute is "genuine" if "the evidence is such

that a reasonable jury could return a verdict for the nonmoving

party ."   Anderson v. Liberty Lobby, Inc., 477 U.S. 242 , 248

(1986) .   The relevant inquiry on application for summary

judgment is "whether the evidence presents a sufficient

disagreement to require submission to a jury or whether it is so

one-sided that one party must prevail as a matter of law ."              Id .

at 251-52.    A court is not charged with weighing the evidence

and determining its truth, but with determining whether there is

a genuine issue for trial.         Westinghouse Elec. Corp. v . N.Y.

City Transit Auth ., 735 F. Supp . 1205, 1212 (S . D. N.Y . 1990)

(quoting Anderson, 477 U.S. at 249) .           "[T]he mere existen c e of

s ome alleged factual dispute between the parties wil l not defeat

                                        7
     Case 1:13-cv-01896-RWS Document 123 Filed 08/30/16 Page 9 of 19




an otherwise proper l y supported motion for summary judgment; the

requirement is that there be no genuine issue of material fact ."

Anderson , 477 U.S. at 247 - 48    (emphasis in original) .



Plaintiff's Claim Under NY Labor Law§ 740 Is Time Barred



               Plaintiff in this action brought claims under both NY

Labor Law § 740 and § 741 .       An action under § 740 must be

brought "within one year after the al l eged retaliatory personnel

action was taken."       N. Y. Lab . Law§ 740(4) (a) .   The parties

agree that Plaintiff 's claim arose on February 3 , 2012 when he

was notified that his position would be terminated in June 20 1 2 .

(Pl . Tr. at 7:20 - 24 .)   This is because the claim begins to

accrue when the employee is given a notice of termination for

retaliat o ry reasons and not the actual terminat i on date .

Dykstra v . Wyeth Parm. , Inc.,     454 F. App ' x 20 , 23 (2d Cir .

2012) .      Here , Plaintiff filed his complaint on March 21 , 2013 ,

more than one year after his claim began to accrue on February

3 , 2012 .



               Plaintiff also brought a c l a im under § 741 , a related

statute , which requires that he bring the action "within two

years after the alleged retaliatory personnel action was taken ."

N. Y. Lab. Law§ 740(4) (d) .      Plaintiff seeks to apply the two -

                                      8
   Case 1:13-cv-01896-RWS Document 123 Filed 08/30/16 Page 10 of 19




year limitations period for § 74 1 to both his § 741 and his §

740 c laims because he brought the two claims concurrently.

Plaintiff argues that the legislative intent was to apply the

two-year limitations period of§ 740(4) (d) to concurrent cla ims

of § 740 and § 741 because § 741 was passed later and amended §

740.   Plaintiff argues that the le g isla ture meant to apply this

two-year limitations periods to cases bringing both claims

concurrently since the purpose of the bill was to avoid

significant risks to public health.     New York Bill Jacket, 2002

A.B. 9454 , Ch . 24.



            However , the l egislature did not state that the two-

year limitations period applied to cases in which § 740 and §

741 are brought concurrently , which it could have done while

amending the statute to add§ 741.      The more natural reading of

the statutory text is to bar claims brought under § 740 that

exceed the one -year limitations period articulated in §

740(4) (a), even when the plaintiff also brings a c laim under§

741.   Ge ldz ahler v . New York Medical College , 746 F.Supp.2d 618 ,

630 (S .D.N.Y. 2010)   (d ismissing a c laim under§ 740 as time

barred while allowing a concurrent claim under § 741 to

proceed).    Therefore, Plaintiff's§ 740 claims are time barred

and dismissed from this action.




                                   9
     Case 1:13-cv-01896-RWS Document 123 Filed 08/30/16 Page 11 of 19




Plaintiff's§ 740 and§ 741 Claims Are Dismissed Because He Was
Terminated for Non-Retaliatory Reasons



               Plaintiff has a l leged that he was terminated from his

position at JHMC and NYU in retaliation to his complaints about

imp o rtant quality of care issues.                  Plaintiff has alleged that he

compla ined of a number of patient and qua l ity of ca re

deficiencies , including sanitary and infe ct i on control practices

at JHMC.       These issues included trash and flies in the operat ing

room , mishandling of Oper ating Room c ulture swabs with dirty and

unsteril e gloves, assisting in the Operating Room with bloody

gloves prior to the procedure, de l ays resulting in prolonged

anesthesia time and p o tential increases in in fect i on rates , la ck

of ster ile equipment f o r surgeries, patients la y ing in their own

feces , and nursing issues.                  ( Pl. Ex. G, NYUMC003 1 2 , 000437 - 439 ,

000515 -51 6 , 000523 -52 6 , 000551 -552; Ex . E, Canedo Tr . at 65:6 - 9 ,

145 : 18-150:7 ; Ex. H, Thompson Tr. 1 at 9 : 23 - 10 : 17 , 13: 22 -17:12,

1 9 : 3 - 21 : 8 , 2 4:15-2 6 : 10 , 120 : 4 -1 2 1:14, Ex. I Thompson Tr. 2 at

333 : 21- 334 : 4 , 337 : 2 - 338 : 11 . )



               Even if these issues impacted overal l public he a lth or

safety concerns and violated a specific law, rule, or regu l at i on

as required under § 740 and § 741 , these claims do not survive

summary judgment because there was another valid reason why



                                                10
   Case 1:13-cv-01896-RWS Document 123 Filed 08/30/16 Page 12 of 19




Plaintiff was terminated :    the low vo l ume of patients and

revenue that Plaintiff generated for the hospital .



           Both statutes provide an except i on for any potentially

retal i atory termination that was based on other grounds .        Under

§ 740(4) (c) , it is a complete defense to a retaliatory claim

under § 740 if "the personne l action was predicated upo n grounds

other than the employee ' s exercise of any r i ghts protected by

this section. "   N. Y. Labor Law§ 740(4) (c) .     Similar l y u nder

741 , "it shall be a defense that the personne l action was

predicated upon grounds other than the employee ' s exercise of

any rights protected by this section. "      N. Y. Labor Law§ 741(5)



           Other actions have held that poor performance is a

valid reason apart from retaliation for whistleb l owing that

serves as a complete defense to claims under § 740 and § 741 .

See Timberlake v . New York Presbyterian Hosp ., No 05 - cv- 56167 ,

2009 WL 3122580 , at *6 (S . D. N. Y. Sept. 29 , 2009)

(insubordination and performance issues were a complete defense

to claims of reta l iation for whistleblowing under§ 741(5) ) ;

Luis o v. Northern Westchester Hosp. Center , 65 A . D. 3d 1 296 ,

1298 , 886 N. Y.S.2d 216 (2d Dep ' t 2009)   (same) .




                                   11
      Case 1:13-cv-01896-RWS Document 123 Filed 08/30/16 Page 13 of 19




             Here, Plaintiff 's claims are dismissed because he was

terminated for the non-retaliatory reason that the program he

was running suffered from low volume and insufficient revenue to

maintain the program.             Plaintiff was eligible for a bonus in

year in which revenue for the TJRP exceeded the cost of his

salary and benefits , yet Plaintiff did not earn sufficient

revenue to warrant a bonus in any year work ing for Defendants.

(Pl . Tr. at 129:20 - 132 : 25 . )



             In fact,     Plaintiff and the TJRP never brought in

enough revenue to support its costs .              From September 1 , 2010 to

December 31 , 2010 , the TJRP had 22 visits billing $53 , 000 and

only collecting $7 , 000 of those total b ill s.            (Dr . Angelo

Canedo ' s Deposition Transcript, Reilly Deel ., Ex . A ("Canedo

Tr ." ) at 118 : 18 - 119:6 . )    Plaintiff ' s salary over that period of

time was $81 , 000 and nearly $33,000 in malpractice insurance .

Id.    In the 2011 calendar year , the TJRP had 67 visits billing

$124,000 and collecting $20 , 700.             (Canedo Tr. at 119:21-24 . )

Plaintiff ' s salary over that period of time was approximately

$249,380 and $13 2 , 000 in malpractice in surance.            Id.



             Plaintiff claims he was not aware of these issues with

volume and revenue until the program was terminated in February

2012 , but this claim is be li ed by the documentary evidence .

                                          12
    Case 1:13-cv-01896-RWS Document 123 Filed 08/30/16 Page 14 of 19




Jeanne Manc i s i on , Di rector o f Fi na n ces at J HMC , ema il ed

Plaint i ff profit and loss data for TJRP as early as July 2011 ,

which showed that the TJRP was not s u ppor t ing its costs .

(Guttel l Deel ., Ex . A; Pl. Tr . 129 : 22 - 25 ; 130 : 2 - 25 ; 132 : 2 - 2 1;

Canedo Tr . 1 1 9 : 23 - 120 : 4 ; 167 : 2 -1 0 ; Re ill y Deel . Ex . F . )



              For these reasons , s ummary j u dgmen t i s granted for

Defendants because Plaintiff was terminated f or the non -

retal i atory reason t h at his program was earn i ng significantly

less than its costs .



Defendant is Not Entitled to Attorneys' Fees Under §740(6)



             Defendant moved for attorneys '            f ees under§ 740(6) ,

wh i c h provi des that "[ a ] court , in it s d is cretio n, may a l so

order that r easonable attorneys ' fees and court costs and

disbursements be awarded to an emp l oyer " i f t h e claim " was

without bas i s in l aw or in f act. "          However , th i s motion is

denied because Pla i nti ff' s c l a i ms were based in l aw and fact .

While Plaint i ff ' s claims do not survive th i s s ummary judgment

motion , his claim under § 741 was t i me l y and the concerns he

raised about pat i ent h ealth and qua l ity of care including issues

with severa l nurses , s t er il ity pract i ces , and i nfection risks




                                           13
    Case 1:13-cv-01896-RWS Document 123 Filed 08/30/16 Page 15 of 19




were non - frivolous claims under the statute.         For those reasons ,

Defendants ' motion for attorneys '       fees is denied .



Plaintiff Named Improper NYU Defendants But the Case is
Dismissed on Other Grounds



           The NYU Defendants argue that Pl aintiff has failed to

name his legal employer , New York Univers i ty ("NYU") , the on l y

NYU entity that can be properly named in th i s action .         I nstead

of naming the Unive r sity , Pl aint i ff named NYU Hosp i ta l s Center ,

New York University Medical Center , NYU Langone Medica l Center ,

and NYU Hospital for Joint Diseases .         However , these entities

are not sufficient , even if they are trade names for the

University or are corporations connected to , but separate from ,

the University .    These trade names and unrelated corporations

cannot remain as proper Defendants in this action , but the case

is already dismissed on other grounds .



           Under the New York Constitution , "a ll corporations

shall have the right to sue and shall be subject to be sued in

all courts in like cases as natura l persons ."         N. Y. Const . Art .

10 , § 4 ; see also , N. Y. Bus. Corp. Law§ 202(a)(2) .        However , a

plaintiff cannot bring an action against a business operating

under a trade name .    Kingvision Pay-Per - View , Ltd. v . Nunez , No .



                                     14
     Case 1:13-cv-01896-RWS Document 123 Filed 08/30/16 Page 16 of 19




05 - CV- 2 93 1 , 2 007 WL 281575 1, at*           (E .D . N. Y. Sept . 25 , 200 7 ) ;

Ragin v . Harry Mack Lowe Real Estate Co ., I nc ., 1 2 6 F . R . D. 475 ,

4 80 (S.D . N. Y. 1 98 9 ) ; Pro vo st y v . Lydia E . Hall Hosp ., 91 A . D. 2d

65 8 , 65 9 , 457 N. Y. S . 2d 106 (2d Dep ' t 1 98 2 ) ; Marder v . Betty ' s

Beauty Shoppe , 3 8 Misc . 2d 687 , 687 - 88 , 239 N. Y. S . 2d 923 , 92 4 (2 d

Dep ' t 1962) .



             Se v eral Defendants wo u l d be dismi ssed from this acti o n

be c ause they are trade names and n o t individuals or entities

c apab l e o f suing o r being sued .         New York Universi t y Medi c al

Center , NYU Lang o ne Med i c a l Center , and NYU Ho spital for J o int

Di seases are not l egal entities amendable to suit .                        (NYU Ru l e

56 . 1 Statement ,   at   ~~   4 - 5.) 1   NYU Hosp i ta l s Center is a d omestic

n o t - for-profit co rporation and can be sued as a legal e n tity .

(NYU Rule 5 6 . 1 St a tement ,      at~    5. )     Howev er , Plainti ff ' s

p o sit i on was as a member o f t h e fa c ulty of the Sc ho o l of

Medici ne and Pl aint i ff was n o t empl o yed by the NYU Ho spi t als

Center .    (NYU Ru l e 5 6 . 1 Statement ,        at~    17 . )   Pla i nt i ff ' s

employment contract states that he is a member of t he facult y



1  The parties re l y on Sculerati v . New York Univers i ty et al ., No . 1 26439/02 ,
2003 WL 2126237 1, at * 1 n . 1 (Sup . Ct . N. Y. Cnty . May 16 , 2003) to support
their positions . Plaintiff argues that the case stands for the proposition
that NYU Medical Cente r " is t he commonly use d name of the campus of NYU . "
However , the case also notes in the same footnote that the School of Medicine
" is an admin i stra ti ve unite of NYU ." Id . Furthe r , NYU was also a named
defendant in Sculerati , which is why the cas e did not n eed to addre ss the
issue presented here .


                                            15
    Case 1:13-cv-01896-RWS Document 123 Filed 08/30/16 Page 17 of 19




New York University School of Medicine and does not state that

Plaintiff's employer is the NYU Hospitals Center .      (NYU Rule

56 .1 Statement , Ex. B.)



           Courts have allowed parties who have not named the

proper entities to have additional discovery into the

appropriate entity to sue and refused to dismiss a claim for

stating a trade name instead of a proper legal entity .        Ragin v .

Harry Mack Lowe Real Estate Co ., Inc., 126 F.R.D. at 480-481;

Darby v . Compagnie Nat. Air France, 132 F.R.D. 354, 355

(S.D .N. Y. 1990)   (allowing Plaintiff to amend his complaint to

name the proper legal entity since the proper defendant already

had notice of the suit) .    Here, the proper entity, NYU, had

notice of the suit .    The NYU Defendants argue that they notified

Plaintiff in their answer that only NYU was Plaintiff's employer

and therefore the only legal entity that cou l d properly be sued .

(NYU Defendants' Answer , NYU Rule 56 .1 Statement, Ex. P at      ~~


10-22.)   However, Defendants ' answer states that "Plaintiff was

employed by the NYU School of Medicine, a division of New York

University, a component of NYU Lang one Medical Center ."       It was

plausible that Plaintiff believed he had named NYU Langone

Medical Center as a proper party.       Further, Plaintiff's

employment contract included information about hospital

responsibilities at the NYU Hospitals Center, which is a valid

                                   16
    Case 1:13-cv-01896-RWS Document 123 Filed 08/30/16 Page 18 of 19




legal entity named in th is suit that would support a good-faith

belief that Plaintiff had named a proper party.



          Despite these potential good-fai th mistakes, Plaintiff

did not name the appropriate legal entity as his employer in

this action.   However, summary judgment is granted on other

grounds as noted above.    In view of the grant of summary

judgment to Defendants, NYU is deemed by the court to be a party

defendant against which the complaint is also dismissed.




                                  17
    Case 1:13-cv-01896-RWS Document 123 Filed 08/30/16 Page 19 of 19




Conc1usion



             The Defendants ' motions for summary judgment are

granted in part , and denied in part.




             It is so ordered .




New York, NY
Augustj , 2016
       0
                                              ROBERT W. SWEET
                                                  U . S.D . J .




                                  18
